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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF ARKANSAS
                             CENTRAL DIVISION

UNITED STATES OF AMERICA                                                         PLAINTIFF

v.                           CASE NO. 4:17-CR-00293-BSM

APRIL HOWELL                                                                   DEFENDANT

                                           ORDER

       April Howell’s motion to temporarily modify conditions of release [Doc. No. 2415]

is granted. Howell’s house arrest and electronic monitoring is suspended from 12:00 p.m.

to 5:00 p.m. on May 14, 2022, to allow her to attend her child’s birthday party in Russellville,

Arkansas. Howell is directed to notify the pre-trial services officer of all travel arrangements

so that her whereabouts may continue to be monitored.

       IT IS SO ORDERED this 25th day of April, 2022.



                                                     ________________________________
                                                     UNITED STATES DISTRICT JUDGE
